          Case 1:13-vv-00733-UNJ Document 22 Filed 08/08/14 Page 1 of 7




              In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                      No. 13-733V
                                   (Not to be published)

*************************
HEATHER CROSE,                        *
                                      *       Filed: July 18, 2014
                   Petitioner,        *
                                      *       Decision by Stipulation; Damages;
             v.                       *       Influenza (Flu) Vaccine; Guillain-Barré
                                      *       Syndrome (GBS)
                                      *
SECRETARY OF HEALTH AND               *
HUMAN SERVICES,                       *
                                      *
                    Respondent.       *
                                      *
*************************
Ronald C. Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for Petitioner.

Traci R. Patton, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                            DECISION AWARDING DAMAGES 1

        On September 25, 2013, Petitioner Heather Crose filed an action seeking compensation
under the National Vaccine Injury Compensation Program (the “Vaccine Program”) 2. Petitioner
alleges that she suffered Guillain-Barré Syndrome (“GBS”) as a result of receiving an influenza
(“flu”) vaccine on October 16, 2010.
1
  Because this decision contains a reasoned explanation for my action in this case, I will post this
decision on the United States Court of Federal Claims’ website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as
amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. § 300aa-12(d)(4)(B),
however, the parties may object to the posted decision’s inclusion of certain kinds of confidential
information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to the
public. (Id.)
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C.A. ' 300aa-10-' 300aa-34 (West 1991 & Supp. 2002). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. ' 300aa.
          Case 1:13-vv-00733-UNJ Document 22 Filed 08/08/14 Page 2 of 7




        Respondent denies that Petitioner’s GBS or any related medical problems were caused by
her receipt of the flu vaccine. Nonetheless both parties, while maintaining their above-stated
positions, agreed in a stipulation filed July 17, 2014 that the issues before them can be settled,
and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’
stipulation is reasonable. I therefore adopt it as my decision in awarding damages on the terms
set forth therein.

       The stipulation awards:

              a) A lump sum of $205,000.00, in the form of a check payable to petitioner. This
                 amount represents compensation for all damages that would be available under
                 42 U.S.C. §300aa-15(a).

Stipulation ¶ 8.

        I approve a Vaccine Program award in the requested amount set forth above to be made
to Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith. 3


       IT IS SO ORDERED.

                                                         /s/ Brian H. Corcoran
                                                            Brian H. Corcoran
                                                            Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly (or
separately) filing notice(s) renouncing their right to seek review.

                                                2
Case 1:13-vv-00733-UNJ Document 22 Filed 08/08/14 Page 3 of 7
Case 1:13-vv-00733-UNJ Document 22 Filed 08/08/14 Page 4 of 7
Case 1:13-vv-00733-UNJ Document 22 Filed 08/08/14 Page 5 of 7
Case 1:13-vv-00733-UNJ Document 22 Filed 08/08/14 Page 6 of 7
Case 1:13-vv-00733-UNJ Document 22 Filed 08/08/14 Page 7 of 7
